1                        IN THE UNITED STATES DISTRICT COURT
2
                              FOR THE DISTRICT OF ALASKA
3

4
       STATE OF ALASKA,
5      DEPARTMENT OF
       TRANSPORTATION & PUBLIC                         Case No. 3:20-cv-00306-JWS
6
       FACILITIES,
7
                             Plaintiff,           ORDER GRANTING DEFENDANT
8
                                                   BUREAU OF INDIAN AFFAIRS’
9              vs.                                 MOTION FOR EXTENSION OF
                                                    TIME TO FILE A RESPONSE
10
       2.396 ACRES MORE OR LESS NEAR
11     BETHEL, ALASKA; 3,344 SQ. FT.
       MORE OR LESS NEAR BETHEL,
12     ALASKA; the BUREAU OF INDIAN
13     AFFAIRS; EARL POLK III;
       WARREN POLK; VINCENTO POLK;
14     JASON POLK; and SOPHIE EVAN,
15
                             Defendants.
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18                   The Court, having considered Defendant Bureau of Indian Affairs’
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     motion to extend its responsive pleading deadline, and any responses thereto, IT IS
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21
     HEREBY ORDERED that the motion is GRANTED. The new responsive pleading

22   deadline for the Bureau of Indian Affairs is February 26, 2021.
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                     IT IS SO ORDERED this 13th day of January, 2021, at Anchorage,
24
     Alaska.
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26
                                                           /s/ John W. Sedwick
27
                                                         JOHN W. SEDWICK
28                                                 Senior United States District Judge



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